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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

PATRICIA WILLIAMS,            )
                              )
        Plaintiff,            )
                              )
    vs.                       )                         Case No. 4:23-cv-01517-MTS
                              )
FORT ZUMWALT SCHOOL DISTRICT, )
                              )
        Defendant.            )

                             MEMORANDUM OPINION

       The Court repeatedly has admonished Plaintiff about the requirement to follow all

Court rules and directives. Nevertheless, Plaintiff has continuously failed to do so.

Defendant informed the Court that Plaintiff failed to provide her required initial

disclosures and failed to respond to proper discovery requests, and it asked the Court to

dismiss this action as a sanction. Doc. [44] (Defendant’s Motion for Sanctions). Plaintiff

filed a response to the Motion for Sanctions, but her response was largely unintelligible

and in no way excused her failure to provide her initial disclosures and discovery

responses. See Doc. [46].

       Nevertheless, the Court issued an Order to Show Cause giving Plaintiff still

another opportunity to show cause why this action should not be dismissed for her

repeated failures to participate in discovery and prosecute this action. Doc. [47]; see also

DiMercurio v. Malcom, 716 F.3d 1138, 1140 (8th Cir. 2013) (noting an involuntary

dismissal with prejudice is a drastic sanction). Plaintiff’s response to the Show Cause

Order was largely unintelligible and did not show cause for her failure to participate in
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the discovery process. As the Court warned it would do if Plaintiff failed to show

adequate cause, the Court will enter herewith an Order of Dismissal dismissing this

action with prejudice. See Fed. R. Civ. P. 37(b)(2)(A)(v).

      Dated this 9th day of April 2025.



                                          MATTHEW T. SCHELP
                                          UNITED STATES DISTRICT JUDGE




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